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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:13-cv-02894-SKC

JASON BROOKS,
Plaintiff,

v.

COLORADO DEPARTMENT OF CORRECTIONS,
Defendant.

SPECIAL INTERROGATORIES TO THE JURY

INTRODUCTION

Special interrogatories are written questions answered by the jury that inform
the Court of certain of your factual findings. There are issues in this case that present
a legal question for me to resolve, but I cannot resolve the legal question without first
receiving your assistance in determining certain facts that are in dispute in this case
that have a bearing on the legal question. To inform me of your factual findings, you
will complete answers to these special interrogatories.

Your answer to these Special Interrogatories must be based solely on the
evidence received during trial and on the law that I have given to you in my
instructions and in these interrogatories. Nothing I have said or done was meant to
suggest what I think your answers should be to these questions. The answers are
entirely up to you.

YOU MUST ANSWER BOTH QUESTIONS ON THE NEXT PAGE

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Part 1:
The Colorado Department of Corrections' Conduct under Title II

Special Interrogatory No. 1: In your response to Question No. 1 on the
Verdict Form, what conduct by the Colorado Department of Corrections did you find
violated Title II of the Americans with Disabilities Act? (check all that apply):

X the failure to provide Mr. Brooks with the meal pass he requested

the accommodation of adult undergarments

Please proceed to Part 2, below, and read the definition and answer Special
Interrogatory No. 2.

Part 2:
Deprivation of Food

Definition: A deprivation of food in the prison setting does not require a
complete deprivation of access to food, but it does require a substantial deprivation.
A substantial deprivation of food is one that is sufficiently serious that it deprives an
incarcerated person of the minimal civilized measure of life's necessities, such as food,
and that results from prison officials' deliberate indifference (see Instruction No. 22)
to a substantial risk of serious harm to an incarcerated person. Whether the
deprivation of food falls below this threshold may include consideration of the amount
and duration of the deprivation.

Special Interrogatory No. 2: Do you find the Colorado Department of
Corrections deprived Mr. Brooks of food as defined above?

x Yes No

[end]

